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DAVIDSON CO. CHANCERY CT

IN THE CHANCERY COURT FOR DAVIDSON COUNTY, TENNESSEE

 

AT NASHVILLE
BRIAN P. MANOOKIAN, §
8
Petitioner, §
§
v. § Case No.: 20-0833-I
§
BOARD OF PROFESSIONAL § Senior Judge William Acree
RESPONSIBILITY OF THE §
SUPREME COURT OF TENNESSEE, 8
§
Respondent. §

 

PETITIONER’S MOTION TO DISQUALIFY DISCIPLINARY COUNSEL FOR
BEING AN ANTI-MUSLIM BIGOT

 

I. Introduction

Comes now the Petitioner, through undersigned counsel, and pursuant to Tenn. R.
Civ. P. 7.02(4), is regrettably compelled to move this Court to disqualify Disciplinary
Counsel in this action and order the Respondent to appoint Special Disciplinary Counsel
in Disciplinary Counsel’s place. As grounds, Mr. Manookian submits that Disciplinary
Counsel Jerry Morgan maintains extreme animus against Muslims, see Collective
Exhibit A—a minority group that includes the Petitioner’s family. In light of Mr.
Morgan’s participation in this action and his avowed anti-Muslim bigotry, neither the
Petitioner, nor this Court, nor the public can have confidence in the integrity of this
proceeding. Accordingly, this Court should disqualify Disciplinary Counsel and order the
Board to appoint Special Disciplinary Counsel in Mr. Morgan’s place.

II. Facts

The Petitioner is married to a Muslim woman who is also a well-known lawyer in

this jurisdiction herself. The Petitioner has two children with his wife, who are being
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raised in a Muslim household. Regrettably, these facts carry considerable significance in
this case, because Disciplinary Counsel Jerry Morgan is a proud anti-Muslim bigot.

Without purporting to catalogue the full scope of Mr. Morgan’s enormously
disturbing and flagrantly racist public pronouncements, Mr. Morgan unmistakably
harbors extreme prejudice against Muslims and Islam generally. See generally Collective
Exhibit A. For instance, he has declared that “stopping Muslims” is “the #1 issue of our
time”—a statement that he maintains on his public Twitter account to this day:

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4 Jerry Morgan eae
@lenryMargand?

Not sold on @realDonaldTrump yet, but at least he's
talking about the #1 issue of our time - stopping
Muslims. Everybody better wake up!

7:38 AM Dec 71, 2015 . Twitter Web Chent
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Disciplinary Counsel has also declared that “talking big against Muslims” is “good”

on the same platform—a statement that he similarly maintains to this day:

so Jerry Morgan eee
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both bullies. But Trump is talking big against Muslims
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In myriad other public statements that Disciplinary Counsel additionally
maintains to this day, Mr. Morgan has also, among other things:

(1) —Insisted—repeatedly—that unlike Christians, Muslims do not condemn
murder;3

(2) Suggested that there is no time in history when Muslims have ever been at
peace with others;4

(3) Expressed concern that “Muslims had [the] ear” of America’s last
President;5

(4) | Contended that the Constitution “does NOT REQUIRE us to let in more
Muslims!”6;

(5) Declared that “siding with Obama in a fight involving Muslims means you’re
on the wrong side”;7

(6) Warned that “Muslims will take everything we give them and us [sic] it
against us. Time to wake up!”;8 and

(7) | Demeaned Muslims and Islam as a religion repeatedly.9

See Collective Exhibit A.1°

 

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10 To be sure, these pronouncements only scratch the surface of Disciplinary Counsel’s extreme prejudice
toward minorities and other troubling commentary. For instance, he has also expressed disturbing views
on “blacks,” “illegals” and their children, and the “slave” mentality of minorities; he embraces far-right
conspiracy theories regarding, for instance, Hillary Clinton’s supposed murder of a Democratic operative;
and he has made countless statements evidencing extreme prejudice against “liberals,” “Democrats,” and

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Notably, the above statements are merely examples of what Disciplinary Counsel
has not hesitated to say publicly. Accordingly, one shudders to think what he says about
Muslims and other minorities privately. Further, given the highly public nature and the
extraordinary volume of Mr. Morgan’s anti-Muslim and other sentiments, it seems
implausible that his coworkers at the Board of Professional Responsibility are not and
have not long been aware of Mr. Morgan’s extreme prejudice."

Ill. Argument

Disciplinary Counsel is an ethics prosecutor. Bigotry by a prosecutor, of course, is
“inappropriate and prejudicial,” State v. Jones, No. 01C01-9512-CC-00402, 1997 WL
359224, at *7 (Tenn. Crim. App. June 30, 1997), and it constitutes “improper conduct.”
State v. Ostine, No. M2013-00467-CCA-R3-CD, 2015 WL 7009058, at *18 (Tenn. Crim.
App. Nov. 12, 2015). The Constitution also forbids prosecutions that are influenced by
bigotry. See, e.g., United States v. Gist, 382 F. App'x 181, 183 (3d Cir. 2010) (“Although
prosecutors enjoy wide discretion, they may not prosecute based on a defendant’s ‘race,
religion, or other arbitrary classification.’”) (quoting United States v. Armstrong, 517 U.S.
456, 464 (1996) (citations and quotation marks omitted)). The Petitioner—and the
public—accordingly have a right to a judicial proceeding that is free of any concerns that

it is tainted by Disciplinary Counsel’s abhorrent anti-Muslim animus. See, e.g., Tenn.

 

attorneys who support the Democratic Party in particular, see Collective Exhibit B, which includes both
Mr. Manookian and the undersigned. The fact that the Petitioner is currently being prosecuted by the BPR
for—among other things—calling a Donald Trump supporter a racist only compounds the Petitioner’s
concerns about prejudice and viewpoint-based prosecution from Disciplinary Counsel.

4 Of note, Disciplinary Counsel has also disparaged courts, judicial proceedings, and other public-figure
lawyers in ways that are—at minimum—on par with the out-of-court statements for which Disciplinary
Counsel is actively prosecuting the petitioner. See, e.g., Collective Exhibit B. The fact that Disciplinary
Counsel not only has not been treated the same way as the Petitioner for these comments, but is actively
participating in the Petitioner’s prosecution also gives rise to enormous concerns about selective
prosecution and viewpoint-based speech policing regarding which the Petitioner has a right to discovery,
and Mr. Morgan and the BPR plainly cannot be both prosecutors and critical witnesses in the Petitioner’s
case.

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Sup. Ct. Rule 8.4(d) (prohibiting “conduct that is prejudicial to the administration of
justice”).

As such, pursuant to the judicial branch’s “special obligation to ensure proper
application of our rules and administration of the legal profession,” Clinard v.
Blackwood, 46 S.W.3d 177, 182 (Tenn. 2001), this Court should exercise its discretion to
disqualify Disciplinary Counsel from this proceeding going forward. See id. (“A trial
court’s ruling on attorney disqualification, or the vicarious disqualification of that
attorney's firm, will be reversed only upon a showing of an abuse of discretion.”). Tenn.
Sup. Ct. Rule 9, § 16 provides generally for the appointment of “Special Disciplinary
Counsel” in cases of misconduct by Disciplinary Counsel. See Tenn. Sup. Ct. Rule 9, §
16.3(a). See also generally Tenn. Sup. Ct. Rule 9, § 16. Application of that rule is
appropriate here. Allowing an extreme anti-Muslim bigot—whom Tennessee’s Board of
Professional Responsibility has inexplicably employed and permitted to maintain
prosecutions on our Supreme Court’s behalf—to undertake a prosecution against an
attorney who has a Muslim family shakes confidence in the integrity of this entire
proceeding. Accordingly, this Court should order the appointment of Special Disciplinary
Counsel to handle the balance of this case going forward.

IV. Conclusion

For the foregoing reasons, this Court should disqualify Disciplinary Counsel from

future involvement in this case and order the appointment of Special Disciplinary Counsel

to handle the balance of this proceeding.

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Respectfully submitted,

By: /s/ Daniel A. Horwitz
Daniel A. Horwitz, BPR #032176
4016 Westlawn Dr.
Nashville, TN 37209
daniel.a.horwitz@gmail.com
(615) 739-2888

Counsel for Brian Manookian

CERTIFICATE OF SERVICE

I hereby certify that on this 24th day of November, 2020, a copy of the foregoing
was served via the Court’s electronic filing system and/or via email upon the following:

Board of Professional Responsibility
Jerry Morgan

Disciplinary Counsel — Litigation

10 Cadillac Drive, Suite 220
Brentwood, TN 37027

T: 615.361.7500

F: 615.367.2480

jmorgan@tbpr.org

Counsel for Board of Professional Responsibility

By: /s/ Daniel A. Horwitz
Daniel A. Horwitz, Esq.

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Collective Exhibit A

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Collective Exhibit B

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election. You won't likely see this reported on @CNN or
asked about during upcoming debates. Ridiculous!

     

 

| DNI declassites Brennan notes, CIA memo on Hillary Clinton ‘stirfing up’ scandal. |
Director of National intelligence Iohn Ratcliffe on Tuesday declassified documents
| that revealed former CIA Director John Brennan briefed former President Obama... |
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they were lies. It was no stop Democrat propaganda.

 

  

(@ Adam Schiff ©

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| The country would be far better served and informed if they used highlights later.

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Jerry Morgan eas

GuerryhMorgans?

 

So thankful that we have @SpeakerPelosi to lecture us
about the meaning of “fair trial". After watching her
party and their kangaroo court, | had lost sight of that.

fynws/e71C5n¥ #FoxNews

   

 

 

 

Pelosi suggests she may wait to send impeachment articles to Senate: We'll mak... |
boa - So Te he etd - : . i
| House peaker Nancy Pelosi, O-Calll, said Democrats may wait to send their
3

 

, articles of impeachment against Presiient rump to the GOP-controlled Senate, .. |
| @imovewscom

 

Set Ab Dec 79, 2079 « Twitter for iPhone

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This is nubs,

 

 

|G Acyn Torabi @Acyn - Aug 31

The President claims peaple in the dark shaddews who contro! the streets
are really controlling Biden. He goes on to talk about a plane full of
people wearing black uniforms but then says he can't reveal anymone
because it’s under irivestigation

Show this thread

  

 

Jerry Morgan “ee
@QueryMorgand)

 

Replying to @HilaryClinton
Hahaha... speaking of nuts...

209 Pla Sep 7, 2020 « Twitter for iPhone

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STE Hegey |

SUOL ) JO} JNM] » GLOZ ‘S230 NY BOL

 

“Joys fdusrupleay /foqusiing Aidue si asa sucaWOS |

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uonsanb ajewnbe] e sum, uel eynjosqe ue si uapig

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v OQ a O
Buoy”! JO JBBUAL - SLOT ‘Zz des - iW BF
“VOC /.2/60/8 LOZ/WIO2UUD JMAON JLOA ‘esuodsei
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Jerry Morgan mee
QVerryMorgan3?

 

Seriously? The entire charade is ridiculous. Her

demands are equally nonsensical. She doesn’t intend to
testify at all. | suspect you guys are just buying more
time so your bidding war with the media heats up.
She'll go tell her story to the highest bidder. VOTE
NOW!

 

 

: & Senator Mazie Hirono

| These are the 11 Republican men led by @ChuckGrassley who won't even give Dr.
| Blasey Ford another 24 hours, What are they afraid of?

@mazehwona : Sep 27, 2018

 

O45 AM. Sep 22 2078 . Twitter for iPhone

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